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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO. 17-61716-CIV-DIMITROULEAS/SNOW
  DANIEL MONCADA,

           Plaintiff,

  vs.

  LESLIE’S POOLMART, INC.,
  a foreign for-profit corporation,

        Defendant.
  _____________________________________/

                          ORDER OF DISMISSAL WITH PREJUDICE


        THIS CAUSE came before the Court on the Joint Stipulation for Dismissal with Prejudice

  [DE 15], and the Court, having considered same, having reviewed the file, and being otherwise

  advised in the premises, it is hereby ORDERED AND ADJUDGED as follows:

        1. The above-styled action is DISMISSED WITH PREJUDICE

        2. The Clerk is directed to CLOSE this case and DENY AS MOOT any pending motions.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 13th day of December, 2017.




  Copies furnished to:
  Counsel of record
